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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
                          Case No.

 Proven Industries Inc, a Florida corporation

      Plaintiff,
       v.

Trevor McNally, individual

       Defendant.
                                        /


      Verified Complaint for Damages and Demand for Jury Trial



      Plaintiff, Proven Industries Inc (hereinafter, "Proven" and/or "Plaintiff"),
by and through their undersigned counsel, hereby file this Complaint against

Defendant, Trevor McNally (hereinafter, "McNally" and/or "Defendant"), and

alleges the following:

                                 Introduction

1.    This is an action for: (i) copyright infringement under 17 U.S.C. § 501 et
seq.; (ii) defamation by implication under Florida law; (iii) false advertising
under the Lanham Act, 15 U.S.C. § 1125(a); (iv) violation of the Florida

Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201 et

seq.; (v) tortious interference with business relationships; (vi) unjust
enrichment; (vii) civil conspiracy; and (viii) trade libel under Florida law. Each

cause of action is based on a distinct legal theory and seeks separate and non-
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duplicative relief arising from different forms of harm caused by Defendant’s
conduct.

2.    McNally published and widely distributed a misleading and defamatory
video purporting to demonstrate a vulnerability in Proven's proprietary lock

product. The McNally Video used portions of Proven's copyrighted content

without authorization, falsely depicted the product as ineffective, and resulted
in reputational harm, lost sales, and increased marketing costs to Proven.
3.    McNally published a video on multiple social media platforms including

YouTube, Instagram, TikTok, and Facebook. As of the date of filing, McNally
has over 3.5 million, YouTube subscribers, 536,000 Instagram followers, 2.5

million TikTok followers, and 267,000 Facebook followers.

4.    On information and belief, McNally is affiliated with and/or an agent of

Covert Instruments (hereinafter "Covert"), a company that sells lock-picking
tools. McNally lists Covert's website on his social media pages, and Covert

Instruments' website features McNally and benefits from the misleading

content McNally produces.
5.    McNally published the video in a manner that intentionally targeted and

caused foreseeable harm to Proven Industries in the Middle District of Florida.

Although McNally did not film the video in Florida, McNally committed
intentional   torts—including     defamation     by    implication,    copyright

infringement, and unfair trade practices—knowing that Proven, a Florida-
based company, would suffer reputational and commercial injury in this

District.

                          Jurisdiction and Venue


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6.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
1338(a) (federal questions: copyright and Lanham Act), and supplemental

jurisdiction under 28 U.S.C. § 1367 over the related state-law claims.
7.    Personal jurisdiction is proper under Florida long-arm statute, Fla. Stat.
§ 48.193, because McNally committed intentional torts—including willful

copyright infringement, defamation by implication, and deceptive trade

practices—that McNally knew or should have known would cause injury in
Florida. Although McNally resides in Virginia, McNally directed his conduct

toward a Florida-based business with the intent to affect its operations,
making his actions purposefully directed toward Florida for jurisdictional

purposes.

8.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to the claims occurred here, and the
harm was suffered here.

9.    Plaintiff has complied with all conditions precedent to the filing of this

action. To the extent that Fla. Stat. § 770.01 applies, Plaintiff provided the
required notice to Defendant prior to filing suit.

                                    Parties
10.   Plaintiff, Proven Industries Inc, is a Florida corporation with its
principal place of business in Florida.

11.   Defendant, Trevor McNally is an individual above the age of majority
residing in Virginia.
12.   Defendant, Trevor McNally maintains an online presence for commercial

purposes under the user display name "McNallyofficial".


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                               Factual Allegations
13.     Plaintiff, Proven Industries, Inc., is the sole author and copyright owner

of a video titled “YOU GUYS KEEP SAYING YOU CAN EASILY BREAK OFF
OUR LATCH PIN LOCK” (the “Proven Video”).
14.     The Proven Video was completed and first published on March 3, 2025.

15.     The Proven Video was uploaded to Plaintiff’s official YouTube Shorts
account, its Tik Tok account, its Instagram account, and its Facebook account

on March 3, 2025.

16.     The Proven Video consists entirely of original audiovisual content

created by Plaintiff as a work made for hire and includes original
cinematography, visual effects, product demonstration, branding, scripting,

and editing.
17.     The Proven Video is registered with the United States Copyright Office

under Registration No. PA 2-524-347. A true and correct copy of the Certificate

of Registration is attached hereto as Exhibit A.
18.     The effective date of registration is April 7, 2025.

19.     Defendant extracted, reproduced, and republished a portion of the

Proven Video without authorization.
20.     McNally published the subject video (the “McNally Video”) on April 3,
2025.

21.     The McNally Video was uploaded to McNally’s YouTube Shorts, TikTok,
Instagram, and Facebook accounts.
22.     The video is accessible from devices located within the Middle District of

Florida at the following URLs:


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         a. YouTube Shorts: https://www.youtube.com/shorts/YjzlmKz_MM8
         b. Instagram: https://www.instagram.com/p/DIAH9vps19y/?hl=en

         c. TikTok: https://www.tiktok.com/@mcnallyofficial/video/
            7489223700735118622
         d. Facebook: https://www.facebook.com/share/r/1ZicXjkyNb/

23.   The McNally Video incorporates an EXACT copy of excerpts of the
Proven Video at its outset and uses it without transformation or commentary,

except to frame it for ridicule.

24.   Attached in Exhibit B is a composite of still images of the McNally Video

– showing that McNally copied EXACT portions of the Proven Video.

25.   Shown directly below is a first representative still image of the McNally

Video – showing that McNally made an EXACT copy of excerpts of the Proven

Video.




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26.   As shown on the page directly above, the McNally Video published by

McNally begins with the audio and visual work of the Proven Video.
27.   Shown directly below is a side-by-side comparison that serves as a
representative example of how the McNally Video includes an exact

reproduction of the Proven Video.




      Proven Video (left)                         McNally Video (right)

28.   As shown directly above, the image on the left is a frame from the

original Proven Video published by Plaintiff, and the image on the right is a
corresponding frame from the McNally Video published by Defendant. The

closed captioning of the audio is the same on both still images – reciting, "today


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I'm going to prove". The images are nearly identical in content, showing the
same background, subject, gesture, lighting, and attire. The McNally Video

replicates the exact moment from the Proven Video, including the same

individual, motion, and visual sequence. The juxtaposition of these frames
shows that Defendant copied and republished a portion of Plaintiff’s original

copyrighted video verbatim and without transformation, modification, or
commentary.
29.   Approximately two seconds into the McNally Video, the footage shifts to

a point-of-view perspective in which Defendant is shown watching the Proven
Video on a mobile device. The Proven Video is visibly displayed on the screen,

and its original audio is clearly audible within the McNally Video. Shown

directly below is a second representative still image of the McNally Video.




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30.   The portion of the Proven Video that Defendant copied, as shown on
McNally's phone in the still image of the video shown directly above on the

preceding page, is used by McNally as a visual and thematic springboard for

Defendant’s performance, and was not shared via embed, remix, or other
platform-native features.

31.   The first approximately sixteen seconds of the McNally Video consist of
spliced excerpts taken directly from the Proven Video. These excerpts include

both visual and audio elements and were arranged by Defendant without

transformation, commentary, or attribution. Although the excerpts are non-

continuous, they collectively depict key portions of the Proven Video, including

the company’s logo, product description, demonstration footage, and an image

of a Proven employee.
32.   The McNally Video, with its editing, timing and context, gives consumers

the false or at least misleading, impression that shimming Proven’s lock is

mere “child’s play.”




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33.   In the McNally Video, McNally appears swinging his legs and sipping
from an apple juice box, conveying to the purchasing public that bypassing

Plaintiff’s lock is simple, trivial, and even comical. Shown directly below is a
third representative still image of the McNally Video, showing McNally
drinking from, and shaking, a juice box, all while swinging his legs, and

displaying the Proven Video on a mobile device. The audio from the Proven
Video was not playing out of the mobile device, rather, was extracted from the
Proven Video, and played over the McNally Video so that it could be clearly

heard by viewers.




34.   The tone, posture, and use of the juice box prop and childish leg swinging

that McNally orchestrated in the McNally Video was intentional to diminish
the perceived seriousness of Proven Industries as a professional manufacturer


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 and falsely imply that the company markets products that are unserious,
 insecure, or not worthy of consumer trust.

 35.   The lock-picking sequence is edited to appear as a single, continuous 12-
 second event. Visual inconsistencies, including changes in the shim’s shape,

 hand positioning, and lighting, indicate the footage was edited or re-shot and

 spliced to present a simplified narrative.
 36.   Shown directly below is a fourth representative still image taken from
 the McNally Video at approximately the 19–20 second mark, which depicts a

 first appearance of the shim used by McNally in McNally's lock-picking

 demonstration.




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 37.   Shown directly below is a fifth representative still image taken from the
 McNally Video at approximately the 30 second mark, which depicts a second

 appearance of the shim used by McNally in McNally's lock-picking
 demonstration.




 38.   A comparison between the first application of the shim and its second

 appearance in the McNally Video reveals that the cutout or notch in the shim


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 appears to differ in size between the two shots, suggesting that different shims
 were used or that the footage was edited between attempts.

 39.   This visual inconsistency supports the inference that the McNally Video
 was not filmed in a single, continuous take and was edited to conceal failed or

 repeated attempts at bypassing the lock.

 40.   Attached in Exhibit C is a composite of additional still images taken
 from the McNally Video showing discrepancies in the McNally Video which are
 indicative of misleading editorial practices by McNally.

 41.   While the shim is briefly visible in the McNally Video, Defendant failed

 to disclose that successfully bypassing the lock required prior disassembly of
 the product to examine its internal components, including the position of the

 plunger, and to manufacture a custom-fit shim with precise notch dimensions.
 42.   This omitted context misleadingly suggests that the bypass could be

 performed easily without specialized knowledge, preparation, or internal

 measurement.
 43.   Although Defendant makes no verbal statements in the McNally Video,

 the video communicates materially false and misleading messages through its

 visual narrative, editing choices, tone, and omissions. Specifically, the McNally
 Video falsely implies that Plaintiff’s lock product can be easily and trivially
 bypassed by an unskilled person in a matter of seconds using basic tools,

 without any prior disassembly or technical preparation. The use of juvenile

 imagery, such as sipping from a juice box while casually applying the shim,
 reinforces the misleading impression that the lock is inherently insecure and

 marketed deceptively — all of which is implied without any express claim being


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 made.
 44.   The Infringing Video begins with excerpts from Plaintiff’s professionally

 produced promotional video showing its branded product demonstration,
 including voiceover descriptions and visuals of the product in use. The video

 then abruptly shifts to Defendant in a childlike persona, sipping from a juice

 box and casually applying a shim to the lock. The video omits any reference to

 preparation, tooling, or disassembly, and presents the lock bypass as effortless
 and trivial. The overall presentation implies to the average viewer that

 Plaintiff’s product lacks meaningful security and that Plaintiff misrepresents

 its functionality to the public.
 45.   Defendant’s reuse of the Proven Video was not authorized by Plaintiff

 and was not confined to any fair use or statutory exemption.
 46.   The portion of the Proven Video copied by Defendant was not used for

 commentary, criticism, education, or news reporting, but rather for commercial

 entertainment and mockery.
 47.   Defendant’s use was not transformative; the excerpt was copied

 verbatim and used to mischaracterize and target Plaintiff’s product, rather

 than to provide any genuine analysis or new expressive purpose.
 48.   The reproduction of Plaintiff’s copyrighted material was not necessary to
 convey any legitimate message, and was instead included to improperly attract

 attention, ridicule Plaintiff, and frame the lock product as insecure and trivial.
 49.   Defendant’s use of the Proven Video competed with Plaintiff’s original
 publication on the same social media platforms, diverted traffic and

 engagement, and impaired the market value and licensing potential of the


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 original work and advertised product.
 50.   On YouTube, Defendant’s use exceeded the limited license available to

 users, which permits only playback or embedding. McNally created a separate,
 monetized derivative work from Plaintiff’s copyrighted content.
 51.   On Facebook and Instagram, McNally’s reuse of the Proven Video

 violated Meta’s Terms of Use and Community Standards, which prohibit users
 from uploading copyrighted content without permission. Meta does not grant

 content licenses between users.

 52.   On TikTok, although users may remix content within the platform,

 McNally did not use TikTok’s built-in tools to remix or stitch the Proven Video.
 Instead,    McNally    uploaded   a   pre-produced    video    (“McNally   Video”)

 incorporating Plaintiff’s copyrighted content without permission.
 53.   McNally warranted to TikTok that McNally owned or had rights to all

 content in the McNally Video, as required by TikTok’s Terms of Service. That

 warranty was false.
 54.   The McNally Video contains no disclaimers, limitations, or clarifications

 about the video’s context, setup, or repeatability under normal conditions.

 55.   As of April 17, 2025:
            a. The McNally Video received over 9.6 million views, 435,000 likes,
               and 6,262 comments on YouTube Shorts;

            b. on Instagram, it received over 514,000 likes, 3,190 comments, and

               20,000 shares;
            c. on TikTok, it received over 3.2 million views, 314,900 likes, 1,981

               comments, and 17,100 saves; and


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             d. on Facebook, it was posted to McNally’s account, which has over
               267,000 followers.

 56.   Following publication, Plaintiff received public comments and customer
 inquiries referencing the McNally Video and expressing concern or doubt about

 the integrity of Plaintiff’s product.

 57.   On information and belief, Plaintiff lost business opportunities with
 commercial customers who viewed the McNally Video and opted not to

 purchase or proceed with intended transactions.

 58.   Plaintiff incurred reputational damage, customer confusion, and the

 need for emergency marketing and advertising techniques and procedures to
 mitigate the harm caused by the McNally Video.

 59.   McNally monetizes his content across platforms and links to Covert

 Instruments—a company that sells lock-picking tools—across his social media
 profiles.

 60.   On information and belief, McNally receives compensation or other

 commercial benefits from his publication of the McNally Video.

 61.   On information and belief, McNally receives compensation or other

 commercial benefits from his affiliation with Covert Instruments.
 62.   On information and belief, McNally coordinated with individuals at or
 affiliated with Covert Instruments to produce and publish the McNally Video.

 63.   Following publication of the McNally Video, McNally’s followers began
 engaging in a coordinated pattern of online harassment targeting Plaintiff.
 64.   Numerous of McNally’s followers have commented on Plaintiff’s social

 media posts with disparaging, threatening, or mocking language, often echoing


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 the themes, imagery, and misleading implications conveyed by the McNally
 Video, as illustrated by representative examples attached hereto as Exhibit

 D.
 65.   Plaintiff’s customer service channels received abusive or misleading
 messages from individuals who identified themselves as viewers of the

 McNally Video. Exhibit D.
 66.   Numerous false or negative online reviews and comments referencing
 McNally’s video appeared across platforms shortly after its publication,

 suggesting a coordinated response from McNally’s audience. Exhibit D.
 67.   On information and belief, McNally knew or should have known that

 publishing the McNally Video to his audience of millions would incite a wave

 of targeted hostility toward Plaintiff located in the Middle District of Florida.
 68.   McNally’s substantial social media reach—over 3.5 million YouTube

 subscribers, 2.5 million TikTok followers, 536,000 Instagram followers, and

 267,000 Facebook followers—amplified the harm and enabled large-scale

 reputational injury.
 69.   The conduct of McNally’s followers, acting in concert and with knowledge

 of the McNally Video’s purpose, contributed directly to the harm suffered by

 Plaintiff and was foreseeable, encouraged, and ratified by McNally’s platform
 and silence.

 70.   The timing, content, and branding of the McNally Video reflect a
 common plan to disparage Plaintiff and promote Covert Instruments’ affiliated
 products and services.

 71.   McNally’s conduct was part of a broader scheme to harm Plaintiff’s


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 business reputation and drive consumer attention to alternative products or
 services affiliated with him.

 72.    McNally acted with actual malice or with reckless disregard for the truth
 by knowingly presenting a misleading demonstration and suppressing key

 context.

 73.    McNally failed to exercise reasonable care or competence in assessing
 and representing Plaintiff’s product, despite presenting himself as an expert.
 74.    McNally’s use of the Proven Video was not incidental, transformative, or

 justified—it was commercial, deliberate, and intended to attract viewership
 and revenue by disparaging Plaintiff’s product.
 75.    McNally unjustly retained commercial benefits from this conduct,

 including increased engagement, monetization, promotional clicks, and

 affiliate traffic.
 76.    Defendant’s conduct was not a one-time error in judgment, but rather a

 calculated effort to ridicule Plaintiff’s product and brand before a massive

 online audience, knowing that doing so would spark reputational harm and
 commercial loss.

 77.    Defendant published the McNally Video with actual knowledge that its
 visual editing, omissions, and mock tone would lead viewers to believe that
 Plaintiff’s lock product was ineffective and deceptively marketed — despite

 Defendant knowing that bypassing the lock required specialized preparation

 and manipulation not disclosed to the viewer.
 78.    Defendant acted with deliberate indifference to the truth, including by

 failing to disclose that the lock was disassembled and studied in advance, that


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 a custom shim was designed to defeat it, and that the lock’s bypass was staged
 and edited for effect.

 79.   Rather than publish fair commentary or criticism, Defendant selected
 and copied branded portions of Plaintiff’s copyrighted video, stripped of

 context, and presented them with mocking theatrics and edited staging — for

 the deliberate purpose of humiliating Plaintiff and falsely implying its product
 is insecure.
 80.   Defendant is a self-described lock expert with over 3.5 million YouTube

 subscribers and commercial ties to Covert Instruments — a company that
 markets lock picking tools. Defendant was fully aware of the weight his

 endorsement or criticism carries and exploited that authority to discredit

 Plaintiff’s product for financial gain.
 81.   Defendant failed to issue any clarification, disclaimer, or correction

 despite knowing that his followers were using the McNally Video to launch

 disparaging, harassing, and defamatory attacks on Plaintiff through

 coordinated online messaging, including threats, false reviews, and customer

 service abuse.

 82.   On information and belief, Defendant collaborated with individuals
 affiliated with Covert Instruments in developing, editing, and disseminating
 the McNally Video, in furtherance of a commercial scheme to divert attention

 from Plaintiff’s product to competing tools or services.
 83.   Defendant     monetized    the      McNally    Video,     promoted   affiliated
 commercial links alongside it, and knowingly submitted false licensing

 representations to social media platforms to obtain algorithmic amplification


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 and increased monetization — despite knowing that he lacked rights to
 Plaintiff’s copyrighted content.

                                   Count I
                           Copyright Infringement
                            17 U.S.C. §501 et seq.
 84.   Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set

 forth herein.
 85.   This count arises from Defendant’s unauthorized reproduction and
 public display of protected audiovisual content owned by Plaintiff, and seeks

 statutory or actual damages, along with injunctive relief under the Copyright

 Act
 86.   Plaintiff owns a valid and registered copyright in the Proven Video.

 87.   Defendant copied, reproduced, publicly displayed, and distributed

 substantial portions of the Proven Video without authorization, including on
 YouTube, TikTok, Instagram, and Facebook.

 88.   Defendant’s conduct was not authorized by license, not excused by fair

 use, and was done for commercial purposes.

 89.   Defendant acted willfully and in reckless disregard of Plaintiff’s

 exclusive rights.
 90.   Defendant’s infringement was willful because McNally knowingly
 uploaded Plaintiff’s copyrighted content to social media platforms including

 but not limited to YouTube, Instagram, and Facebook, under the guise that

 McNally either owned the content or had permission to distribute it — a
 prerequisite under each platform’s Terms of Service.

 91.   Defendant’s false certifications enabled him to gain preferential


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 algorithmic exposure, monetization, and viral reach using Plaintiff’s content,
 further demonstrating the commercial motive and knowing violation of

 Plaintiff’s rights.
 92.   As a direct result of the infringement, Plaintiff suffered damages
 including, but not limited to, loss of control over its intellectual property, lost

 licensing opportunities, reputational harm, and diminution in the value of the

 copyrighted work.

                                  Count II
                          Defamation by Implication
 93.   Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set

 forth herein.

 94.   This count arises from Defendant’s publication of the McNally Video,

 which, through tone, editing, omission, and visual presentation, falsely implied

 to viewers that Plaintiff’s business was dishonest or incompetent and that

 Plaintiff’s lock product was inherently untrustworthy.
 95.   Although the McNally Video did not explicitly state that Plaintiff

 committed fraud or sold a defective product, Defendant juxtaposed facts and

 edited content in a way that conveyed a defamatory implication — namely,
 that Plaintiff markets a security device that is ineffective, deceptively

 advertised, and easy to defeat by even an unskilled user.

 96.   Defendant’s McNally Video downplays the difficulty of shimming

 Proven’s lock by making it seem as if shimming the lock is mere “child’s play”
 by having the actor sip apple juice from an apple juice box and swing his legs

 in in a childlike manner – all while the actor watches Proven Video on a mobile
 device, which was specifically designed to ridicule Plaintiff and to suggest that

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 its product is so flawed that it poses no real security barrier.
 97.   These implications were materially misleading and false, and they were

 conveyed to millions of viewers across multiple platforms including YouTube,
 TikTok, Instagram, and Facebook.
 98.   Defendant acted with actual malice or reckless disregard for the truth

 by presenting the product demonstration out of context, omitting necessary
 disclosures (such as the use of a custom shim, manipulation time, or setup),

 and selectively editing the footage to mislead viewers about the real-world

 difficulty of compromising the product.
 99.   Viewers understood the McNally Video to imply that Plaintiff’s product

 — and by extension, Plaintiff’s company — was disreputable or fraudulent.

 The implications extended beyond the product itself to cast doubt on Plaintiff’s

 honesty, competence, and value as a manufacturer.
 100. As a direct and proximate result of these defamatory implications,
 Plaintiff and Plaintiff’s product’s reputation suffered reputational injury,

 public ridicule, diminished trust within the customer base, and measurable
 economic harm in the form of lost goodwill, canceled transactions, and the need

 for emergency marketing expenditures.

                                   Count III
                               False Advertising
                               15 U.S.C. §1125(a)
 101. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.
 102. This count arises from the Defendant's materially false or misleading
 statements made in commercial promotion that misled consumers and diverted


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 business from Plaintiff.
 103. These misrepresentations were made in commercial promotion and are
 likely to influence consumer purchasing decisions.
 104. Defendant’s false claims about the ease of bypassing the lock were
 material and deceptive.

 105. Defendant’s false representations were made in connection with the
 commercial promotion of alternative products or services affiliated with

 Defendant and/or Covert Instruments, and therefore directly harmed

 Plaintiff’s commercial interests and consumer perception in the marketplace.
 106. Plaintiff suffered actual harm to its business, reputation, and goodwill.
 107. As a result, Plaintiff suffered actual harm including lost sales, reduced
 consumer confidence, market confusion, and increased costs to counteract false

 perceptions of its product.

                                    Count IV
                             Violation of FDUTPA
                            Fla. Stat. §501.201 et seq.
 108. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.

 109. This count arises because the Defendant engaged in deceptive and unfair
 practices in the course of trade and commerce by publishing misleading and
 materially false representations that affected Plaintiff’s business operations

 and Florida consumers.
 110. Such deceptive acts included: (a) using Plaintiff’s copyrighted content
 without authorization, (b) editing or presenting the content to imply product

 failure, and (c) omitting context regarding custom tools and manipulation time


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 necessary to perform the bypass shown.
 111. Defendant’s conduct was likely to mislead reasonable consumers and
 had the capacity to deceive the public into believing that Plaintiff’s product
 was defective, insecure or easily shimmed, when in fact it was not.
 112. Defendant’s actions were not merely opinion or puffery but constituted
 factual misrepresentations relating to the quality, functionality, and
 performance of a consumer product.
 113. As a direct and proximate result of Defendant’s deceptive and unfair
 practices, Plaintiff suffered actual damages, including lost customer
 relationships, diminished consumer trust, and the need for corrective

 advertising and public relations expenditures.

                                Count V
                       Tortious Interference with
                   Prospective Business Relationships
 114. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.
 115. This count arises from Defendant’s intentional disruption of Plaintiff’s
 business relationships and prospective contracts.

 116. Plaintiff had valid business relationships with existing and prospective
 customers, including trailer manufacturers, distributors, and end-users.
 117. Defendant knew of these relationships or reasonably should have known
 of them.
 118. Defendant intentionally and unjustifiably interfered with these
 relationships by publishing false, disparaging, and misleading content.

 119. Defendant’s conduct, including the publication of the McNally Video and


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 the resulting coordinated activity by his followers, interfered not only with
 Plaintiff’s customer relationships but also with Plaintiff’s advertising efforts

 and marketing channels, causing reduced ad engagement, increased negative

 responses to paid placements, and the need for unplanned emergency media
 spend.

 120. Plaintiff lost business and revenue as a result of such interference,
 including canceled commercial transactions, terminated sales leads, and

 interruption of planned advertising strategy.

                                  Count VI
                              Unjust Enrichment
 121. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.
 122. This count arises from Defendant’s unauthorized use and monetization
 of Plaintiff’s content and seeks equitable relief therefor.

 123. Defendant misappropriated Plaintiff’s copyrighted content and used it to
 generate engagement, revenue, and traffic to his own platforms and affiliate

 entities.

 124. Defendant’s enrichment was not limited to monetization or exposure; it
 was also derived by falsely warranting to social media platforms that McNally
 had the rights to use Plaintiff’s copyrighted content, thereby bypassing

 platform restrictions and gaining algorithmic distribution and user trust that

 would otherwise have been denied.
 125. Defendant's conduct violated the spirit and letter of the limited user
 licenses granted under YouTube, TikTok, and Meta’s Terms of Service,
 resulting in additional inequitable benefit.

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 126. Defendant retained a benefit to which McNally was not entitled, and it
 would be inequitable for Defendant to retain that benefit without

 compensation to Plaintiff.
 127. As a result, Plaintiff was deprived of control over its copyrighted work,
 licensing revenue, and competitive market position.

                                 Count VII
                              Civil Conspiracy
 128. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.
 129. This count arises from a coordinated and intentional effort by Defendant,
 acting in concert with third parties, including Covert Instruments and others,

 to cause reputational and commercial harm to Plaintiff through the
 production, distribution, and amplification of the McNally Video and the

 resulting wave of disparagement.

 130. On information and belief, Defendant entered into an agreement or
 common plan with one or more individuals affiliated with Covert Instruments

 to publish a misleading and harmful McNally Video targeting Plaintiff’s lock

 product, with the shared purpose of damaging Plaintiff’s reputation and

 market share while promoting Covert’s lock-picking tools and related products.
 131. The McNally Video prominently featured branding, language, and
 promotional elements tied to Covert Instruments, including outbound links to

 Covert’s website in the social media bios affiliated with McNally. Covert

 Instruments’ website likewise featured Defendant and benefited from the

 publication.
 132. Following publication of the McNally Video, Defendant’s large online

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 following engaged in coordinated online conduct that included mass
 commenting on Plaintiff’s social media, spreading mocking and threatening

 language,       posting   negative     reviews,    and    submitting     disruptive

 communications to Plaintiff’s customer service channels.
 133. This conduct was foreseeable and encouraged by the tone, messaging,
 and platform reach of Defendant’s McNally Video. Defendant and Covert
 Instruments ratified and benefited from the campaign without disavowing or

 attempting to mitigate the resulting harm to Plaintiff.

 134. The conspiracy’s objective was to inflict reputational injury, interfere
 with Plaintiff’s business relationships, and suppress commercial demand for
 Plaintiff’s products in favor of alternatives promoted by Covert Instruments

 and affiliated with Defendant.
 135. As a direct and proximate result of the conspiracy and resulting acts in
 furtherance of it, Plaintiff suffered reputational harm, loss of sales,

 cancellation of prospective customer relationships, and increased expenditures

 to restore brand integrity and public trust.

                                      Count VIII
                                      Trade Libel
 136. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
 forth herein.

 137. This count arises from false and disparaging statements published by
 Defendant concerning the quality, functionality, and performance of Plaintiff’s
 physical product — namely, its proprietary trailer lock — as opposed to

 Plaintiff’s brand or reputation.
 138. Defendant published and widely disseminated the McNally Video to

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 third parties that portrayed Plaintiff’s lock as defective and easily bypassed.
 The presentation mischaracterized the product’s security features and falsely

 suggested that it could be compromised in seconds using basic tools.
 139. These statements and implications were made with malice or with
 reckless disregard for the truth and without due diligence or technical

 accuracy. Defendant omitted critical context, including the use of specialized

 tools, rehearsal time, or manipulated conditions that would not be present in
 real-world use.

 140. The statements were materially false and concerned the product’s
 physical attributes, mechanical performance, and suitability for its advertised
 use — all of which are provable and verifiable facts.

 141. Defendant made these statements publicly, and they were viewed by
 millions   of     consumers,   including     prospective      customers,   industry
 professionals, and product distributors.

 142. As a direct result of these false product-specific claims, Plaintiff suffered
 special damages, including but not limited to lost sales, disruption of
 distribution channels, and harm to product marketability.

                             Demand for Jury Trial
 143. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
 hereby demands a trial by jury on all issues so triable.

                                Prayer for Relief

 WHEREFORE, Plaintiff respectfully requests that this Court enter judgment
 in it favor and against Defendant, awarding the following relief:

   i.   As to Count I – Copyright Infringement (17 U.S.C. § 501 et seq.):


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            a. An award of Plaintiff’s actual damages and any additional profits
               of Defendant attributable to the infringement pursuant to 17

               U.S.C. § 504(b), or, in the alternative, statutory damages under 17

               U.S.C. § 504(c);
            b. An award of enhanced statutory damages of up to $150,000 for

               willful infringement;
            c. A permanent injunction prohibiting Defendant from further

               copying, publishing, or distributing the Proven Video or any

               derivative thereof;

            d. An award of Plaintiff’s full costs and reasonable attorneys’ fees
               under 17 U.S.C. § 505.

   ii.   As to Count II – Defamation by Implication:
            a. An award of general and special damages for loss of reputation,

               goodwill, and standing in the community resulting from the

               defamatory implications about its business integrity;

            b. An award of punitive damages under Fla. Stat. §768.72 for the

               Defendant’s publication of a video that knowingly or recklessly

               implied false facts about Plaintiff’s business integrity, including
               through selective editing, calculated omissions, and misleading

               tone designed to discredit Plaintiff before millions of viewers

            c. A permanent injunction prohibiting Defendant from republishing

               the defamatory content or further implying that Plaintiff engages
               in dishonest or deceptive business practices.

  iii.   As to Count III – False Advertising (15 U.S.C. § 1125(a)):


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          a. An award of Plaintiff’s actual damages and corrective advertising
             costs;

          b. An award of Defendant’s profits attributable to the false

             advertising;
          c. Treble damages under 15 U.S.C. § 1117(a) due to willful and

             deliberate conduct;
          d. A permanent injunction prohibiting Defendant from making false

             or   misleading   commercial statements          regarding   Plaintiff’s

             products;

          e. An order of specific performance requiring Defendant to publish
             corrective statements on each platform where the false advertising

             was distributed — including YouTube, Instagram, TikTok, and
             Facebook — to clarify that Plaintiff’s lock product was not fairly or

             accurately represented in the McNally Video and to retract any

             misleading implications about its quality, performance, or

             security;

          f. An award of Plaintiff’s attorneys’ fees and costs.

  iv.   As to Count IV – Violation of the Florida Deceptive and Unfair Trade
        Practices Act (FDUTPA):

          a. An award of actual damages under Fla. Stat. § 501.211(2);

          b. A permanent injunction enjoining further deceptive acts or

             practices;
          c. An award of attorneys’ fees and costs pursuant to Fla. Stat. §

             501.2105.


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   v.    As to Count V – Tortious Interference with Business Relationships:
           a. An award of damages for disruption of existing and prospective

              business relationships;

  vi.    As to Count VI – Unjust Enrichment:
           a. An order requiring Defendant to disgorge all financial benefits,

              revenues, engagement metrics, affiliate traffic, and other gains
              derived from the unauthorized use and commercial exploitation of

              Plaintiff’s copyrighted content and branding

           b. Restitution in the amount of unjust benefits retained by

              Defendant, including social media monetization, increased
              promotional exposure, and traffic directed to affiliated entities

              such as Covert Instruments
 vii.    As to Count VII – Civil Conspiracy:

           a. An award of special damages for commercial harm to Plaintiff’s

              product, including lost sales, disruption of distribution channels,

              and damage to product marketability;

           b. An award of punitive damages under Fla. Stat. §768.72 to address

              the willful orchestration and ratification of a coordinated scheme
              intended to damage Plaintiff’s brand through widespread public

              ridicule, false online reviews, and targeted harassment, and to

              deter similar conspiratorial conduct designed to weaponize social

              media audiences against commercial competitors.
 viii.   As to Count VIII – Trade Libel:

           a. An award of special damages, including lost sales, loss of product


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              marketability, and the cost of corrective messaging;
           b. An award of punitive damages under Fla. Stat. §768.72 based on

              Defendant’s malicious and/or reckless publication of misleading

              content   concerning   the     physical   attributes   and   security
              functionality of Plaintiff’s lock product, made with the intent to

              discredit Plaintiff’s product and divert consumer trust toward
              competing commercial interests.

  ix.   As to All Counts:

           a. Pre- and post-judgment interest as permitted by law;

           b. Such other and further relief as this Court deems just, equitable,
              and proper under the circumstances.




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 Dated: May 1, 2025                Respectfully Submitted,




                                   ___________________________
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